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Bates Beg   Bates End
                    Title or Description              Category                  Date        CBI?
                                          EPA Orders
                    FIFRA-08-2023-0038 SSURO
AR0000001 AR0000008 Berkey International 2023         SSUROs                       5/8/2023 No
                    FIFRA-08-2023-0011 JEI 12-
AR0000009 AR0000018 2022                              SSUROs                     12/27/2022 No
                      EPA Interpretation, Guidance, Policy, and Manuals
AR0000019 AR0000022 FRN 1976 Devices.pdf              FRN                        11/19/1976 No
                                                                                12/2009
                    FIFRA-Enforcement Response                                  (and as
AR0000023 AR0000061 Policy                             Policy – ERP             amended) No
AR0000062 AR0000338 FIFRA Inspection Manual            EPA Inspection Manual       8/1/2019 No
AR0000339 AR0000697 Pesticide Registration Manual                                           No
                    PRN 2000-1: Applicability of the
                    Treated Articles Exemption to
AR0000698 AR0000707 Antimicrobial Pesticides                                        3/6/2000 No
                    Consumer Products Treated with
                    Pesticides Fact Sheet on Treated
AR0000708 AR0000713 Articles                                                                 No
                                   EPA Authority/Delegations
                    Memorandum: Subject: 1-142.
                    Civil Judicial and Administrative Delegations 5-8, 5-9, 5-14,
                    Enforcement Actions, Inspections 5-15-A, 5-15-B, and 5-17-
                    and Information Gathering          A, pursuant to the Federal
                    Outside of Geographic Regional Insecticide, Fungicide and
AR0000714 AR0000717 Boundaries                         Rodenticide Act;           11/17/2022 No
                    Memorandum: Subject:
                    Delegation of Authority 5-12,
                    Issuance of Stop Sale, Use or
AR0000718 AR0000719 Removal Orders                     Delegations – SSURO         1/18/2017 No
                    Delegations Manual: Federal
                    Insecticide, Fungicide, and
                    Rodenticide Act: 5-12. Issuance of
                    Stop Sale, Use or Removal
                    Orders, TO WHOM
                    DELEGATED. Director,
                    Enforcement and Compliance
AR0000720 AR0000720 Assurance Division.                Delegations – SSURO         4/29/2019 No

                    Delegations Manual: Federal
                    Insecticide, Fungicide, and
                    Rodenticide Act: 5-12. Issuance of
                    Stop Sale, Use or Removal Orders
                    TO WHOM DELEGATED.
AR0000721 AR0000721 Chief, Air Enforcement Branch      Delegations – SSURO         9/5/2019 No




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Bates Beg   Bates End
                    Title or Description                Category             Date      CBI?
                    Delegations Manual: Federal
                    Insecticide, Fungicide, and
                    Rodenticide Act: 5-12. Issuance of
                    Stop Sale, Use or Removal
                    Orders, TO WHOM
                    DELEGATED. Chief, Pesticides
AR0000722 AR0000722 and Toxics Enforcement Section. Delegations - SSURO       9/19/2019 No
                   Facility and Owner/Operator/Business/Person Information
                                                        Business entity
AR0000723 AR0000724 James Enterprise Background         information            2/2/2023 No
                    Berkey PR Corporation               Business entity
AR0000725 AR0000727 Information                         information            4/6/2023 No
                    Contacts Berkey International,      Business entity
AR0000728 AR0000730 LLC                                 information           4/10/2023 No
                                       Information Online
                    Berkey Water NMCL Website
AR0000731 AR0000733 4.27.2022                           Website               4/27/2022 No
AR0000734 AR0000734 Berkey Store_Silver 12.13.22        Website              12/13/2022 No
                           Pesticide Label Claimed in Treated Article
AR0000735 AR0000738 087256-00001-20110514               PPLS Label                     Yes
                                         Correspondence
                    Email from Ronald Eddy to
AR0000739 AR0000741 Shaula Eakins with attachments      Correspondence        1/26/2023 Yes
                    JEI Response to Inspection
AR0000742 AR0000745 attachments 1.27.23                 Correspondence        1/26/2023 Yes
                    Email from Ronald Eddy to
AR0000746 AR0000747 Shaula Eakins                       Correspondence        1/27/2023 Yes
                                  Inspections and Investigations
AR0000748 AR0001007 JEI Mrkt Inspection 11-22-2022 Inspection                11/22/2022 Yes




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